CaSe: 3208-Cr-00126-WHR DOC #Z 118 Filed: 04/04/18 Page: l Of 4 PAGE|D #Z 700

|N THE UN|TED STATES DlSTR|CT COURT
FOR THE SOUTHERN DlSTR|CT OF OH|O
WESTERN DlVlSION

JOSE JESUS V|LLALBA,

Petitioner,
Case No. 3:08-cr-‘l 26(1)

JUDGE WALTER H. R|CE

v.
UN|TED STATES OF A|VlER|CA,

Respondent.

 

DEC|S|ON AND ENTRY OVERRUL|NG ”|VlOT|ON TO REDUCE
SENTENCE PURSUANT TO 18 U.S.C. § 3582(0)(2) RETROACT!VE
AlVlENDl\/lENT 782” (DOC. #114); OVERRUL|NG AS |VIOOT |VlOTlONS
FOR STATUS OF CASE (DOCS. ##115, 116)

 

This matter is currently before the Court on Petitioner Jose Jesus Vil|alba's
”lVlotion to Reduce Sentence Pursuant to 18 U.S.C. § 3582{<:)(2) Fletroactive
Amendment 782.” Doc. #114.

Vil|alba pleaded guilty to Conspiracy to Distribute and Possess With lntent to
Distribute 5 Kilograms or lVlore of Cocaine, in violation of 21 U.S.C. §§ 846 and
841la)(1) and lb)(l)(A). On June 14, 2010, Vil|alba Was sentenced to 204 months
imprisonment to be followed by 10 years of supervised release.

The Court found that the conspiracy involved more than 500 kilograms of
cocaine sent from l\/|exico to Ohio. Vil|alba's Base 0tfense Level Was, therefore,
38. This Was increased by 4 levels for his leadership role in the offense. lt was

decreased by 2 levels for acceptance of responsibility, and by ‘l level for timely

CaSe: 3208-CI’-00126-WHR DOC #Z 118 Filed: 04/04/18 Page: 2 014 PAGE|D #Z 701

notification of intent to plead guilty, bringing the Net Offense Level to 39. Vil|alba
had a Crimina| History Category of l. According|y, the advisory sentencing
guideline range was 262 to 327 months, with a mandatory minimum sentence of
10 years. The Court departed downward to 204 months imprisonment

Vil|alba has filed a l\/lotion to Reduce Sentence Pursuant to 18 U.S.C.
§ 3582{0)(2), based on Amendment 782 to the United States Sentencing
Guidelines (”USSG”). Amendment 782, which is to applied retroactively, reduced
by two levels the offense levels assigned to certain drug quantities that trigger the
statutory mandatory minimum penalties in U.S.S.G. § 201.1, and made parallel
changes to U.S.S.G. § 2D1.11.

The Court has no authority to modify a previously-imposed term of
imprisonment unless one of the exceptions set forth in 18 U.S.C. § 3582 applies.
Vil|alba relies on the exception set forth in § 3582(0)(2):

(c) l\/lodification of an imposed term of imprisonment.-~The court may not
modify a term of imprisonment once it has been imposed except that-

-K~*-I”

(2) in the case of a defendant who has been sentenced to a term
of imprisonment based on a sentencing range that has
subsequently been lowered by the Sentencing Commission
pursuant to 28 U.S.C. 994(0), upon motion of the defendant or the
Director of the Bureau of Prisons, or on its own motion, the court
may reduce the term of imprisonment, after considering the factors
set forth in section 3553(a) to the extent that they are applicable,
if such a reduction is consistent with applicable policy statements
issued by the Sentencing Commission.

18 U.S.C. § 3582(€)(2).

CaSe: 3208-CI’-00126-WHR DOC #Z 118 Filed: 04/04/18 Page: 3 014 PAGE|D #Z 702

Vil|alba argues that, pursuant to Amendment 782, the Court should reduce
his Net Offense Level from 38 to 36,1 and reduce his sentence from 204 months
to 152 months, based on his exemplary disciplinary record in prison, his mentoring
of young male inmates, and the need to avoid unwarranted sentencing disparities
with other individuals sentenced under Amendment 782.

As the Government notes in its Response in Opposition to Defendant's
l\/lotion to Reduce Sentence, Doc. #117, Amendment 782 does not reduce the
Base Offense Level for Villalba. Because he was held responsible for the
distribution of more than 450 kilograms of cocaine, his Base Offense Level remains
at 38, even under the retroactive amendments to USSG §2D1.1. With the Other
adjustments made by the Court, Vil|alba’s Net Offense Level remains at 39, and his
advisory sentencing guideline range remains at 262 to 327 months.

The Court app|auds Vil|alba's rehabilitation efforts and his exemplary prison
record. Nevertheless, given that Vil|alba's sentencing range has not been lowered
by the Sentencing Commission, this Court lack authority under § 3582(0)(2) to
modify his sentence. Accordingly, the Court OVERRRULES Vil|alba's ”l\/lotion to
Reduce Sentence Pursuant to 18 U.S.C. § 3582(0)(2) Retroactive Amendment
782." Doc. #114. Petitioner’s lVlotions for Status of the Case, Docs. ##115 and

116, are OVERRULED AS |VlOOT.

 

1 Vil|alba appears to mistakenly believe that his Net Offense Level was 38 instead

of 39.

CaSe: 3208-CI’-00126-WHR DOC #Z 118 Filed: 04/04/18 Page: 4 014 PAGE|D #Z 703

Date: April 4, 2018 L;_jzv\n\@g

WALTER H. R|CE
UN|TED STATES D|STR|CT JUDGE

